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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Abigail Carmichael Jordan,


                       Plaintiff,

       v.

                                                       Case No. 1:24-cv-01844-TNM
Marco Rubio, in his official capacity as U.S.
Secretary of State, et al.,



                       Defendants.


  PROOF OF SERVICE OF AMENDED COMPLAINT ON VIRGINIA DEFENDANTS

       I hereby certify that service of the summons, amended complaint, Standing Order for Cases

Before Judge Trevor N. McFadden, and Civil Docket Sheet for the above-captioned case was

effected pursuant to Federal Rules of Civil Procedure 4(e) and 4(j) on Defendants Darryl Hellams,

in his official capacity as Deputy Director of Virginia’s Office of Vital Records; Seth Austin, in

his official capacity as Director & State Registrar of Virginia’s Office of Vital Records; Suresh

Soundararajan, in his official capacity as Chief Information Officer for the Virginia Department

of Health; and Karen Shelton, in her official capacity as Commissioner for the Virginia Department

of Health (collectively, the “Virginia Defendants”).

       1.      A conflict of authority exists regarding whether state officials sued in their official

capacity are subject to service under Federal Rule 4(e) or 4(j), see, e.g., Larson v. Minn. Dep’t of

Hum. Servs., 2023 WL 8868812, at *3 (D. Minn. Dec. 22, 2023) (collecting cases on both sides of

the conflict), and I have identified no D.C. Circuit precedent addressing this issue. Accordingly,




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out of an abundance of caution, service of process upon the Virginia Defendants was effected

pursuant to both Federal Rule 4(e) and 4(j).

       2.      Federal Rule 4(e) authorizes service by “following state law for serving a summons

in an action brought in courts of general jurisdiction in the state where the district court is located

or where service is made.” Fed. R. Civ. P. 4(e)(1). D.C. law, in turn, authorizes service of

individuals “by registered or certified mail, return receipt requested.” D.C. Super. Ct. R. Civ. P.

4(c)(4).

       3.      Accordingly, on February 4, 2025, I caused to be deposited in the United States

Mail copies of the summons, amended complaint, Standing Order for Cases Before Judge

Trevor N. McFadden, and Civil Docket Sheet for the above-captioned case, addressed separately

to Defendants Hellams, Austin, Soundararajan, and Shelton. In addition, although not required by

Federal Rule 4(e)(1) or D.C. Rule 4(c)(4), I caused to be deposited in the United States Mail a

copy of the summons, amended complaint, Standing Order for Cases Before Judge Trevor N.

McFadden, and Civil Docket Sheet for the above-captioned case, addressed to the Office of the

Virginia Attorney General. Cf. Fed. R. Civ. P. 4(i)(1)(B).

       4.      On February 7, 2025, the copies of the summons, amended complaint, Standing

Order for Cases Before Judge Trevor N. McFadden, and Civil Docket Sheet for the above-

captioned case were delivered to each recipient by U.S. certified mail. The following chart lists

the receipt number for each mailing and the date of delivery, as shown in the corresponding Exhibit

for each recipient.

       Recipient                 Receipt Number               Receipt &            Delivery Date
                                                           Tracking Report

 Darryl Hellams            7003 0500 0002 4328 8204        Exhibit A             February 7, 2025




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       Recipient               Receipt Number               Receipt &           Delivery Date
                                                         Tracking Report

 Seth Austin              7003 0500 0002 4328 8211       Exhibit B            February 7, 2025

 Suresh Soundararajan     7003 0500 0002 4328 8228       Exhibit C            February 7, 2025

 Karen Shelton            7003 0500 0002 4328 8242       Exhibit D            February 7, 2025

 Office of the Attorney   7003 0500 0002 4328 8259       Exhibit E            February 7, 2025
 General of Virginia


       5.      Federal Rule 4(e) also authorizes service by “delivering a copy of [the summons

and complaint] to an agent authorized by appointment or by law to receive service of process.”

Fed. R. Civ. P. 4(e)(2)(C). In addition, Federal Rule 4(j) authorizes service by “serving a copy of

[the summons and complaint] in the manner prescribed by that state’s law for serving a summons

or like process on such a defendant.” Fed. R. Civ. P. 4(j)(2)(B). Although Virginia law does not

appear to prescribe any particular method for service upon state officials sued in their official

capacity, see generally Va. Code §§ 8.01-296–8.01-327, Virginia state officials have not contested

service in other federal cases where process was hand-delivered to an authorized agent of the state

official, see, e.g., Brown v. Smith, No. 1:24-cv-477 (E.D. Va.), ECF No. 10; Am. Const. Rights

Union v. Beals, No. 3:23-cv-776 (E.D. Va.), ECF No. 17; King v. Youngkin, No. 3:23-cv-408

(E.D. Va.), ECF Nos. 24, 25, 26, 27, 28, 29.

       6.      Accordingly, on February 5, 2025, I caused copies of the summons, amended

complaint, Standing Order for Cases Before Judge Trevor N. McFadden, and Civil Docket Sheet

for the above-captioned case to be hand-delivered to authorized agents for Defendants Hellams

(Exhibt F), Austin (Exhibit G), Soundararajan (Exhibit H), and Shelton (Exhibit I). In addition,

although not required by Federal Rule 4(e)(2)(C) or 4(j)(2)(B), I also caused a copy of the

summons, amended complaint, Standing Order for Cases Before Judge Trevor N. McFadden, and


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Civil Docket Sheet for the above-captioned case to be hand-delivered to the Office of the Virginia

Attorney General, cf. Fed. R. Civ. P. 4(i)(1)(B), but that Office refused to accept service

(Exhibit J).

        7.     Federal Rule 4(j) also authorizes service by “delivering a copy of the summons and

of the complaint to [the State’s] chief executive officer.” Fed. R. Civ. P. 4(j)(2)(A). Accordingly,

on February 5, 2025, I caused a copy of the summons, amended complaint, Standing Order for

Cases Before Judge Trevor N. McFadden, and Civil Docket Sheet for the above-captioned case to

be hand-delivered to the Office of the Governor of Virginia, but that Office refused to accept

service (Exhibit K). Regardless, for the reasons explained above, the Virginia Defendants were

properly served pursuant to both Federal Rule 4(e) and 4(j).

        8.     The default deadline for the Virginia Defendants to respond to the amended

complaint would be February 28, 2025, i.e., 21 days from the latest possible date they were served,

see supra ¶ 4; Fed. R. Civ. P. 12(a)(1)(A)(i), but in this case there is already a summary-judgment

schedule in place that supersedes that default for purposes of briefing, see Minute Order of Jan. 21,

2025.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




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Executed on February 11, 2025
                                     /s/ Robert A. Batista
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